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                               UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

DENYONNA N. REED                                    §                                  CIVIL ACTION
                                                    §
                Plaintiff,                          §
                                                    §
V.                                                  §                    COMPLAINT 5:22-cv-00068
                                                    §
I.Q. DATA INTERNATIONAL, INC.                       §
                                                    §
                Defendant.                          §

          DEFENDANT I.Q. DATA INTERNATIONAL, INC.’S REQUEST FOR
         ORAL HEARING AS TO ITS MOTIONS FOR SUMMARY JUDGMENT
                    PURSUANT TO LOCAL RULE CV-7(h)

        Defendant IQ Data International, Inc. (“Defendant” or “IQ Data”) files this Request for

Oral Hearing as to its Motions for Summary Judgment pursuant to Local Rule CV-7(h), and in

support would respectfully show the Court as follows:

                                        I.
                        BACKGROUND OF RELEVANT PLEADINGS
                             AND DISPOSITIVE MOTIONS

        1.      Plaintiff filed the instant case alleging violations of the Fair Debt Collection

Practices Act (“FDCPA”) under 15 U.S.C. § 1692 et seq., and the Texas Debt Collection Act

(“TDCA”) under Tex. Fin. Code Ann. § 392 et seq. [Dkt. 1].

        2.      On November 17, 2022, IQ Data filed two motions for summary judgment: (1) IQ

Data’s Motion for Summary Judgement pursuant to the bona fide error defense under FDCPA §

1692k(c) and TDCA § 392.401 [Dkt. 24]; and (2) IQ Data’s Motion for Summary Judgment on the

grounds that Plaintiff cannot establish any concrete injury related to IQ Data’s alleged conduct

sufficient to establish Article III standing [Dkt. 25] (collectively, “IQ Data’s Motions”).

        3.      On December 1, 2022—the deadline for Plaintiff to file her responses to IQ Data’s

Motions—Plaintiff filed her Motion to Defer Consideration of IQ Data’s Motions for Summary
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Judgment (“Plaintiff’s Motion to Defer”) seeking relief pursuant to Fed. R. Civ. P. 56(d) in order

to allow Plaintiff to conduct additional discovery [Dkt. 26]. Plaintiff’s Motion to Defer argued that

she could not respond to IQ Data’s Motion for Summary Judgement pursuant to the bona fide error

defense without additional discovery. Id. While Plaintiff’s Motion to Defer did not allege that she

could not effectively respond to IQ Data’s Motion for Summary Judgment under Article III

standing, Plaintiff nevertheless requested the Court to defer its rulings as to both of IQ Data’s

Motions. Id.

        4.     On December 9, 2022, IQ Data filed its Response in Opposition to Plaintiff’s

Motion to Defer [Dkt. 28].

        5.     On December 12, 2022, this Court issued an Order denying Plaintiff’s Motion to

Defer [Dkt. 29]. Although the Court’s December 12, 2022 Order denied Plaintiff’s Motion to

Defer, the Order also extended the deadline for Plaintiff to respond to IQ Data’s Motions to

December 22, 2022. Id.

        6.     On December 16, 2022, Plaintiff filed her Opposed Motion for Extension of Time to

File Responses to IQ Data’s Motions for Summary Judgment (“Plaintiff’s Motion for Extension”) [Dkt.

30].

        7.     On December 16, 2022, IQ Data filed its Response in Opposition to Plaintiff’s

Motion for Extension [Dkt. 31].

        8.     On December 19, 2022, the Court issued a text Order granting Plaintiff’s Motion for

Extension which extended the deadline for Plaintiff to respond to IQ Data’s Motions to January 5,

2023.

        9.     On January 4, 2023, Plaintiff filed her Response to IQ Data’s Motion for Summary

Judgement pursuant to the bona fide error defense [Dkt. 32].




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          10.      On January 5, 2023, Plaintiff filed her Response to IQ Data’s Motion for Summary

Judgement under Article III standing [Dkt. 33].

          11.      On January 13, 2023, IQ Data filed its Reply to Plaintiff’s Response to IQ Data’s

Motion for Summary Judgement under Article III standing [Dkt. 34].

          12.      On January 13, 2023, IQ Data filed its Reply to Plaintiff’s Response to IQ Data’s

Motion for Summary Judgement pursuant to the bona fide error defense [Dkt 35].

                                              II.
                              IQ DATA’S REQUEST FOR ORAL HEARING

          13.      Local Rule CV-7(h) provides that “[a] movant or respondent may request an oral

hearing. The allowance of an oral hearing is within the sole discretion of the court.” 1

          14.      At this time, the Court has not issued a ruling on either of IQ Data’s Motions.

Accordingly, IQ Data requests this Court to schedule an oral hearing as to its Motions for Summary

Judgment pursuant Local Rule CV-7(h).

                                              III.
                                       PRAYER FOR RELIEF

          Defendant I.Q. Data International Inc. requests this Court to schedule an oral hearing as to

its Motions for Summary Judgment. Respectfully submitted,

                                                SERPE ANDREWS, PLLC

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    See Local Rule CV-7(h).


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                             I.Q. DATA INTERNATIONAL, INC.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 30th day of June, 2023, a true and correct copy of the above was
electronically filed with the court via CM/ECF system and notification of such filing has been sent
to the following:

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